        Case 1:06-cr-00208-JD   Document 63   Filed 08/10/07   Page 1 of 1




                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 06-cr-208-04-JD

Tyler James


                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

88) filed by defendant is granted.

      Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3131(h)(8)(B)(iv), for the

reasons set forth in the motion.

      SO ORDERED.



                                          /s/Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:    August 10, 2007




cc:   James Gleason, Esq.
      Terry Ollila, AUSA
      U.S. Marshal
      U.S. Probation
